Case 2:11-cv-12422-AC-MKM ECF No. 129-13, PagelD.2142 Filed 07/28/14 Page 1 of 4

EXHIBIT
Case 2:11-cv-12422-AC-MKM ECF No. 129-13, PagelD.2143 Filed 07/28/14 Page 2 of 4

—-- - LIPSON, NEILSOH, COLE =—- Fax: 248-493-5065 Dec 15 2010 12:32pe Pe02/005
$12.95 007
1 Rattorredds 2370 pm. 17-43-2010 ts
iaforeks LBs bacon Dodgary
Hallosadde L?s 454 Arsaity insures Coompaay BENESMICIARY CLAIM ORM
Hetiomekse Lv ineyeand Conpery of Avion
PLL Bex 12ZED4 Chane, ht tulad cece Nakao pace nes nation

Pleate aocopt our depeal sympa lr your azt. This ora a Gocigned a
crmnpists your cian, fo collect information needed to
WEQHTANT Sestions 4, %, 200 5 suet ie compinted.

Sach bonefickey mest compels @ sapere ctale toon,
To oxpacite the ‘
Or oete 2k pee at Fe fire completed chatos form aioag with @ copy of the

catering, 1.03 f 804300

monet fatten CARY

y
§
>
bh
z
0
r
3
©
8
6
a
0
o
q
N
o
8
&
®
5
a
a
‘ 0
7
E
bk
v
a
2
C
£
%
a
L
c
9
Y
z
q
x
©
o
a
9
&
®
a
0

Dal of Dasitc LLY LZ, 2ofO

1b. Beneficiary kdormation. Hust be completed.
Benotinry tame, VIOAS ICA EY AA) LUP LLO FE
rntimisriion 9 Abe? (fo (42. U0 Fe legr app)

PO Box sticrose i» nok akoapiod)

cyte coi, LLIN? A (Lis Per bier ye ROO

WdEwont fen

The neat Section, Hettleenemt Options, provides thene dint tion te proceeds.
For optens for your daath benef
Fo mimaton abot whet other opine are avateble fo you, ploese coll ux uf $-800-243-0290 or L

_

LAPOMRAD a Oto omtes Yarn J o7enes
Case 2:11-cv-12422-AC-MKM ECF No. 129-13, PagelD.2144 Filed 07/28/14 Page 3 of 4

.._CIPSON,NEILSON, CLE Fax:2689-593-5065 . Beg 1S 2010 72:32pm 004/005

ake 2 AR Uw Be rete

GUA OTE Nettonwidy GAS p, 12-13-2910 4s

| Sentiens Set atenaicar i Contiiceionh: > SES eg AE Gee ie See
Tha item Revenus Senice does nol require your consent fo any provision of this document other than the
oedoadone required tu wroid backup withholding. .
Corttostion — Under penalties of perpury, t cartlfy shxt:
(1) The surdber shown on this form ts my comsat taxpayer Hordficafion number, end
(2) | am nct subject to backup wiihholding becouse (a) | freve not been nofified that | am subject to beckatp
wikhoiding as a result of a failure to.report afl intereal or dividends, or (b) the Enbornal Revenua Servica has
nolffied mis that! am no longer subled! fo backup withholding, or thal ! am exampt from backalp withholding, and
(3) Sam a United Ctatea otttioen (including a U.S. reaident alan).
You must coas out Ram (2) $f you have been oofifed by the IR& thet you ara currently subject to backup
veihokitng because. of flume to repost Inisrest or dividends on your ex rotor.

Tita an Sewer Pe
Hewadl, bdtho, Uinols, lowe, Kantichy, Maryland,
Rhods leterxi, South Dakota, Taxee, Utah, Vermont, West Virgins, Wiscnnein un Aay person who
submits an spplostion of a claim containing » ince or decaptive shatement, 2nd dose 20 with Intend to dafeunt or

Arkanssa Any pareon whe knowingly prasente a falas of tratlulent clakn for of # fos or baneSt or
inoaingly presents falep Informadion fn an Rppicalion for Insurance fa guilty of a ciime ond may be aubjoct io foes
and confinement in prieon,

Dietvict of Coturabla, Warning: ft ls a crirom to provide false or misieading Ivormetion fo on insurer for the
purpasa of dofauxing the inaurer ar any ofver Daron. Penalties Incite repriconment andioe fines, In addon,
m fanty deny insurceice beneike I fale. intormelion matortally raielad to x chiles vars provided hy the

| losids Any person. who knowingly and wiih intent fo injure, dstraud of decolve any Ineusor filea # etatoment of
ctalen or an eppiication containing any false, Incomplete, or misleading idoneadion ie gully of a felony of tba third.

Kanssa, Nevaca, Nosth Caroiina and Noth Dainia Person who xubedts an appiication or a clair -
conteining 3 fatee or deceptive statement, end cdoas x6 with Intent to defraud or nowang thet hevshe bs fackisting 0
kratud agaltal sn insurer, may ba guity of Insurance froud.
Lonisiene Cauton: if your anewere on thie apipicaion ore incorrect or unin, Nellomwvide hes the right to cleoy
benefits or regoind your policy, Any porson rho knoninply prssents false or fraudulent clabn for paymand of a kas
of bans or knowingly presente falas inferrradion in an spploation for inowenoe ts guitty ofgs.gyloreend Seay ba
subject to fines and confmomont le prleon, . Te

Main, Terveones Bis & orine fo iowksyly provide fetne, Incompjote of miskgeding information to an insurance
companty for the purpuse of defrasding the company. Pensdies tacede fnorzoomert, fines and denial of

i
j 4
FF:
a
6 12/16/2010 11:30:42 am Coentwreal Standard Time] OHLEWAPPO719 7393 RAB SPI GOSCEG 0141-16 NFVisg

LALOISZAD An 0tae Bislos Yarson 3 0772008
Case 2:11-cv-12422-AC-MKM ECF No. 129-13, PagelD.2145 Filed 07/28/14 Page 4 of 4

LIPSON,MEILSON. COLE = Fax: 288-599-5065 Dec 15 2010 12:33pe 005/005

shasson Nirtionvide OM2ipm 12-13-2010 58

war Ling geese Soe ehe
der ine ogg * wee

fOr ah DaAetOS policy

Nave Menioo Ary person who knowingly presenta a false or Inudulent cain for peyrnatd of a loss or benef or
knewdogly proponis false Infarmation In an appocation for insuranos te gully of 8 ome and may ba subjenl to olvd
fnos and criminad penagtes.

Hew Yor Any pomon wie knowingly and with Intent fp defreud ary Insurance contpany or other porson Bes an
apptioaticn tor insurance or stasment of cizim contalning any waindaty Rise information, or conceals for the

i2.® ciine, and shall ziso be subject to a cvi penally not fo exoted five thousand dafiara and the stated vitua uf
the dain for sech such violation. , 5

an
Purpose of misleading, Information concerning arty fact maztorkd thereto commits a froudkient insuzancs act which

IT solacted thw Netormide Bank Secu Money Merkel Account Option, I understand and agree, by signing tia i

| contity under penaties of peipay thet 28 staternonts ere tue, comect and completa in the best of my knowtodge
end belief, | understand thet the furnishing of: this fonn by the Company dona sot constiuls an auiniedion that

LEGG glo rm

‘Bignaiura of Lagelty jppolnted Guardian Date Minos Baneficiary's Socia! Seourty"
Nember
{individual BoneHolaty b & inex of montily lecompalent person} A coriiied copy of puartantiip papers qwat be finished.

Teleconsmunicstions Device for the Deaf (TOD), you Screed oy TOD services at 1-000-238-3085,
Service Representatives sre suaiishie to azatet you oniday through Friday fom 8:00 am. % 600 pun. EST.

To expedite the clan » You may overnight the completed clei form along with any other required formnis}

to the Following address:
Hatlonwide Ufe Operations
RR - 04-4
5t00 Rings Rd,
Dubin, Ohio 49017

3
2
i i
=
6 12/96/2010 11:30:62 Am (Central Standard TIMe] OHLEWAPPOTIS 7393 248 693 SOGE 01.16 NFWsa

LAROTEZAD Ab Occ Blgles action 4 O72
